                                  IN THE Document
                   Case 4:22-cv-00308-O  UNITED STATES
                                                  6 FiledDISTRICT
                                                         06/09/22 COURT
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                                  FOR THE NORTHERN DISTRICT OF TEXAS
                               ORDER STRIKING AND UNFILING DOCUMENT(S)
The Court has independently determined that the document(s) below should be stricken and unfiled. Accordingly, it is ordered
that the document(s) is/are stricken from the record of this case, and the Clerk is directed to note on the docket that the
document(s) has/have been unfiled.

    June 9, 2022
    DATE                                                          U.S.
                                                                  U S DDISTRICT/MAGISTRATE
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                                                                        ISTRICT/MAG
                                                                                  G        JUDGE

                                                          NOTICE OF DEFICIENCY
    Judge: O'Connor                                                           Date: June 9, 2022
    Case Number: 4:22-cv-308                                                  Style: Harris v. Cenlar FSB et al.

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    A(n) Joint Scheduling Report                                                                                          has been filed by
    the Parties                                                                  and is considered deficient in the area(s) noted below:
                    1.        A civil cover sheet must be filed with the complaint. See LR 3.1(a) or LR 3.2(c).
                    2.        The document(s) must be in proper form. See LR 10.1 or LCrR 49.3.
                   3.         The signature of the attorney of record, which includes a party proceeding pro se, is required on each
                              document filed. See FED. R. Civ. P. 11(a), FED. R. Crim. P. 49(d), LR 11.1(b), or LCrR 49.5(b).
                    4.        A completed certificate of service is required. See FED. R. Civ. P. 5(d) or FED. R. Crim. P. 49(d).
                    5.        Each separate document contained therein must be identified. See LR 5.1(c) or LCrR 49.2(c).
                    6.        The motion RUUHVSRQVHmust include:
                         a.                 certificate of conference or inability to confer. See LR 7.1(b) or LCrR 47.1(b).
                         b.                  brief in support of motion. See LR 7.1(d), LR 56.5(a), or LCrR 47.1(d).
                         c.                  proposed order. See LR 7.1(c) or LCrR 47.1(c).
                         d.                  documentary or non-documentary evidence in a separate appendix. See LR 7.1(i) or LR 56.6.
                   7.     A motion for leave to amend must have a copy of the proposed amended pleading attached as an exhibit.
                          See LR 15.1(a) and (b). If the motion for leave to amend is filed on paper, the motion must be
                          accompanied by an original and second copy of the proposed amended pleading that is neither attached to the
                          motion nor made an exhibit to the motion. See LR 15.1(a).
                   8.     A motion for continuance of a trial setting must be signed by the party as well as by the attorney of record.
                          See LR 40.1.
                   9.     An attorney seeking pro hac vice admission must apply for admission on an approved form and pay the
                          applicable fee. See LR 83.9(b) or LCrR 57.9(b).
                  10.     Additional copies are required. See LR 5.1(b) or LCrR 49.2(b).
                  11.     The attorney filing the pleading is not admitted to practice in this district. See LR 83.7 or LCrR 57.7.
                  12.     The document requires a separately signed certificate of interested persons. See LR 3.1(c), LR 3.2(e),
                          LR 7.4, LR 81.1 (a)(3)(D), or LR 81.2.
             ✔ 13.        Other:
                              Does not specify whether a jury demand has been made.
